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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG * MDL NO. 2179
“DEEPWATER HORIZON” in the *
GULF OF MEXICO, on * SECTION J
APRIL 20, 2010 **
** JUDGE BARBIER
* MAG. JUDGE SUSHAN
THIS DOCUMENT APPLIES TO: *
* JURY TRIAL DEMANDED

No. 12-311

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LIBERTY’S REPLY IN SUPPORT OF ITS RULE 12C MOTION

Liberty replies to Cameron’s Response (R. Doc. 6697) to Liberty’s Rule 12(c) Motion (R.
Doc. 6438).
A. Cameron’s Arguments Based On The “Other Insurance Clause” Are Wrong.

Cameron does not dispute that the Transocean indemnity obligation is “Other Insurance”
under the Policy. Cameron only disputes its operation, suggesting an unworkable procedure that
renders it meaningless. Cameron is wrong. Cameron cites two cases purportedly shifting the
burden to the insurer on “Other Insurance” provisions; neither applies Texas law. Under Texas
law, the insured bears the burden of proving an excess policy attaches, including exhaustion of
underlying insurance as a condition precedent to coverage. See, e.g., D.R. Horton, Inc. v. Am.
Guar. & Liab. & Ins. Co., 2012 WL 1893977, at *19 (N.D. Tex. 2012) (to trigger second-level
excess policy, insured must prove exhaustion of underlying and self-insured retention).” That is

true for "Other Insurance" as well, as a leading treatise confirms:

When a policy is excess, whether because it is truly written to apply only above “Other
Insurance” with lower limits or becomes excess by operation of an “Other Insurance”

' See Am. Elec. Power Co. v. Aff FM Ins. Co., 556 F.3d 282, 286 n.2 (Sth Cir. 2009) (law of state where
insurance issued/executed governs interpretation).

2 Dresser Indus., Inc. v. Underwriters at Lloyd’s, et al., 106 §.W.3d 767, 771 (Tex. App. 2003)

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clause, part of the insured’s burden of proof in establishing a claim for recovery from
such insurance is the fact that the loss is such that the limits of the excess policy have
been triggered.

COUCH ON INS., § 254:39. The Fifth Circuit agrees that “Other Insurance” may be a condition of
coverage. See RSR Corp. v. Int’l Ins. Co., 612 F.3d 851, 858-61 (Sth Cir. 2010). Here, the
Liberty Excess Policy clearly provides it is excess of “Other Insurance” under Condition F: “If
‘Other Insurance’ applies to a ‘loss’ that is also covered by this policy, this policy will apply
excess of such ‘Other Insurance’ ... ‘Other Insurance’ includes any type of . . . indemnification
or other mechanism by which an Insured arranges for funding of legal liabilities.” Under Texas
law, Cameron, not Liberty, bears the burden of proof that this condition has been satisfied.

In arguing to the contrary, Cameron chiefly relies on two cases: Rhone-Poulenc, Inc. v.
Int’l Ins. Co., 1996 WL 328011, at *3 (N.D. Ill. 1996), and Ins. Co. of N. Am. v. Kayser-Roth,
1999 WL 813661 (R.I. Super. Ct. 1999); neither applies Texas law. In Rhone-Poulenc
(unpublished), the court considered whether environmental liability policies provided concurrent
primary coverage with CGL for purposes of Rule 19, and not the burden of proof to trigger an
excess policy. Moreover, the clause in Rhone-Poulenc required the “Other Insurance” to be
“collectible;” a requirement not in the Liberty Policy. Kayser-Roth also involved different
language interpreted under a different state’s law. Applying Rhode Island law, the Kayser-Roth
court interpreted a clause requiring “Other Insurance” to be “valid and collectible.” language not
found in the Liberty Policy.’ Thus, each is inapposite.

Cameron has not shown that the “Other Insurance” condition precedent has been
satisfied, and regardless of the burden of proof, has made this condition impossible. Cameron’s

chief arguments on why the “Other Insurance” condition precedent does not prevent coverage

3 Raytheon Co. v. Cont’l. Co., 123 F. Supp. 2d 22 (D. Mass. 2000), also cited, involved “super escape
clause” in primary policies that was an exclusion in some policies, and thus treated as an exclusion.

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from attaching are (1) Transocean refused to honor its contractual obligations; and (2) Liberty’s
position that the policy must be enforced as written purportedly leads to absurd results. These
complaints do not hold water.

On the first point, Cameron’s position renders the “Other Insurance” condition toothless,
as Cameron’s actions demonstrate. Although Cameron tells the Court Liberty should give up on
the benefit of its bargain because Transocean disagrees on indemnity, Cameron told the Court in
the BP Litigation that “any fair reading of the [Drilling Contract] will confirm” that Cameron is
owed indemnity. (R. Doc. 4866 at p. 2). Cameron stated that “[hJolding [BP and Transocean] to
the terms of their sophisticated bargains [to provide indemnity to Cameron] will assure proper
allocation of the pollution risk.” Jd. These good faith assertions, grounded in the contract with
Transocean, which itself was grounded in standard industry practice on allocation of pollution
risk among sophisticated parties, demonstrate the claim for indemnity was alive and well. It is
the existence of the indemnity right that triggers the condition, “whether or not recovery under
this “Other Insurance” is actually sought’:

By it plain language, the triggering of Condition 8 [“Other Insurance” clause] requires only
(1) the existence of “Other Insurance” insuring to [the insured’s] benefit, and (2) overlapping
coverage between that “Other Insurance” and [the policy at issue]. The means by which
actual recovery might be achieved under the “Other Insurance” in question, whether by
settlement agreement or by judgment, is irrelevant to Condition 8’s applicability. The
existence of “Other Insurance” that covers the same liability as the Environmental policies is

what triggers the condition, whether or not recovery under this other insurance is actually
sought.

RSR Corp., 612 F.3d at 858. The deal with BP may have ended Cameron’s pursuit of its
indemnity rights; but it did not negate the fact that indemnity claim existed triggering Condition

F and preventing coverage from attaching.
Indeed, when Cameron struck its deal with BP, Cameron did not abandon its indemnity

right; Cameron bargained it away, and in Cameron’s opinion, received a significant benefit

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because of its indemnity claim.* See (R. Doc. 6287 at 4 45) (decision on indemnity motions
could easily “result in substantially higher settlement demands on Cameron”); id. at {53 (release
of indemnification claims “a crucial part of the settlement consideration that BP was seeking’).
Cameron’s bargain with BP ended Cameron’s pursuit of indemnity, making it impossible to
fulfill the condition precedent to trigger coverage.

Cameron’s own arguments illustrate that its position is absurd. Cameron maintains that,
when Other Insurance is at issue, the insurer should pay-up and then pursue indemnity. Liberty
cannot do this because Cameron made it impossible when it bargained away its indemnity
rights,” a point Cameron ignores. Factoring it in, Cameron is entitled to coverage only if the
Court rewrites Liberty’s policy removing Condition F, which it cannot do. See Am. Mfrs. Mut.
Ins. Co. v. Schaefer, 124 S.W.3d 154, 162 (Tex. 2003) (“[W]e may neither rewrite the parties’
contract nor add to its language.”).

B. Cameron Extinguished Liberty’s Policy Rights, Negating Coverage.

In settling with BP, Cameron impaired Liberty’s rights, negating coverage. Cameron
does not distinguish or dispute Liberty’s cited authorities on this point. Instead, Cameron
obfuscates, arguing it did not release Liberty’s subrogation rights by citing a single sentence
from the agreement: “Notwithstanding any other provision of this Agreement, including
paragraphs 4.2 and 4.3, Cameron is not releasing any subrogation or other rights of Liberty

Insurance Underwriters Inc.” (R. Doc. 6697-2 at p. 24). This purported reservation is hollow

‘ Had Cameron’s motion succeeded, that indemnity would inure to the benefit of Liberty under the Policy.

° See (R. Doc. 6287 at Jf 42-51).

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lip-service.. Liberty, a subrogated insurer, can only stand in Cameron’s shoes, and Cameron
undisputedly assigned to BP or released its “indemnification claims against Transocean under the
Transocean Contracts.” Jd. Ex. 3 at § § 4-5. Cameron released the very indemnification rights to
which Liberty would have been subrogated... By extinguishing Liberty’s subrogation rights,
Cameron “forfeits any claim for indemnity under the policy.” Foundation Reserve Ins. Co., 458
S.W.2d at 214, 216 (Tex. Civ. App., 1970, no pet.).

Equally misplaced is Cameron’s reliance on an alleged promise not to raise its breach of
policy consent requirements. Liberty never agreed to release of its subrogation rights. Any fair
reading of the letter Cameron cites clearly advises Liberty’s non-objection relates to the amount
of the settlement. In the same letter, Liberty expressly objected to “the non-economic aspects of
the proposed settlement” clarifying that “such action will jeopardize any coverage which
Cameron might otherwise have under the LIU policy.” Cameron also protests that it had to
release its indemnification rights to settle, suggesting the release is excusable. Even if true,
Cameron’s release of those rights had implications under the Liberty Excess Policy; Cameron
cannot unilaterally alter those terms. See (R. Doc. 6438-3 at pp. 17-18).

Finally, Cameron misleadingly chides Liberty for not raising the “Other Insurance” issue
until after settlement negotiations with BP had begun. The assertion is irrelevant to the
dispositive issue and disingenuous. Cameron admits that “Other Insurance” clauses control the
order in which multiple sources of insurance attach or are called on to pay.° Unless and until the

BP settlement began to materialize and payment of an amount within Liberty’s position became

. See id. at p. 13.

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an issue, Liberty’s “Other Insurance” clause had no relevance to Cameron’s claim.

C. Liberty Is Entitled To Dismissal Of Cameron’s Bad Faith Claims.

Nothing in Cameron’s responses changes the fact that Cameron has not pled a viable
claim for bad faith under any state’s law. First, Cameron errantly contends it sufficiently
pleaded a cause of action under the Texas Insurance Code Chapter 541. Cameron could not be
more wrong. Under the Texas Insurance Code, for there to be bad faith, liability must be
“reasonably clear,”’ which cannot be established here as a matter of law as the Liberty Excess
Policy is excess to any “indemnification” and the amount and extent of indemnity flowing from
Transocean to Cameron undisputably has not been determined.® Cameron’s claim under Section
542 also must be dismissed because Section 542 only applies to first-party insurance claims, and
not the third-party claim at issue here. See (R. Doc. 6438-3 at p. 28).

Second, because Texas law applies, the Louisiana statutory claims are absurd and
independently, do not apply on their face. Cameron argues Liberty’s failure to fund the
settlement could trigger liability under La. Rev. Stat. 22:1892 (A)(2), but cites no supporting
authority. By its terms, A(2) solely requires insurers to “pay the amount of any third party
property damage claim . . . within thirty days after written agreement of settlement of the claim
from any third party claimant.” Jd This provision, which must be strictly construed,’ governs

only third-party claimant’s rights, and not Cameron’s first-party claim. Also, the statute does not

7 See Tex.Ins.Code 541.060(A)(2)(B); Aranda v. Ins. Co. of N. Am., 748 S.W.2d 210, 213 (Tex. 1988).

Stated another way, how can Liberty be in bad faith in claiming Cameron had a right to indemnity when
Cameron itself had pending a motion against Transocean vigorously claiming the same?

° See, Jackson v. State Farm Fire & Cas. Co., 2010 WL 724108 at 3 (E.D. La. Feb. 22, 2010),/d
({Louisiana’s] bad faith statutes are penal in nature and should be strictly construed).

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apply absent a settlement agreement between a third-party claimant and the insurer. See
Woodruff v. State Farm Ins. Co., 767 So. 2d 785 (La. App. 4 Cir. 2000) (third-party claimant
must allege settlement agreement with insurer for claim under 1892(A)(2)). Liberty is not party
to a settlement agreement with a third-party; (A)(2) is inapplicable.

Nor does (A)(1) apply. (A)(1) “does not squarely cover” an insured’s claim that its
insurer failed to settle third-party liability claims against it. Louque v. Allstate Ins. Co., 314 F.3d
776, 780 (Sth Cir. 2002). “[I]instead” the statute penalizes only the insurer’s failure to pay “a
claim due the insured ‘within thirty days after receipt of satisfactory proofs of loss,’” i.e., a first-
party claim.’? Jd at 781. Not surprisingly, Cameron failed to identify a single reported decision
holding (A)(1) applies to an insured’s claim that an insurer failed to settle a third-party claim.
Even if 1892(A) could apply, Cameron cannot show Liberty received “satisfactory proof of
loss,” i.e. sufficient information to “fully apprise the insurer of the insured’s claim.”'! McDill v.
Utica Mut. Ins. Co., 475 So. 2d 1085, 1089 (La. 1985). Cameron contends Liberty received the
required proof because Liberty was “integrally involved in the claim and was sent a copy of the
Settlement Agreement immediately after it was executed.”’* Cameron does not dispute, nor
could it, that Liberty did not receive information concerning the amount of the indemnity
Transocean owed to Cameron, as the issue was unresolved. Without this information, Liberty

could not possibly assess the amount of covered loss and thus was not “fully apprised”

0 Liberty admits section 1892 affords limited rights to both first- and third-party claimants, as stated in
Louque. But Cameron’s claims do not fall within those limited rights

u See also Armstrong v. Safeway Ins. Co., 47 So. 3d 63 (La. App. 3rd Cir. 2010).

0 (R. Doc. 6697-2, at p. 27).

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concerning its potential liability, and the statutory payment obligation was not triggered.”
D. Liberty Is Entitled To Dismissal Of Cameron’s Claim Regarding Defense Costs.

In opposition, Cameron admits Liberty has no duty to defend, but attempts to create an
artificial distinction between an insurer’s duty to defend and a duty to pay defense expenses.
Liberty is not liable for defense costs under the clear terms of the Policy. As discussed in
Liberty’s Motion, the plain policy language supplants the defense provisions in the underlying
policy and limits Liberty’s defense and payment obligations under the policy. The Liberty
Excess Policy does not provide for payment of defense costs, a fact Cameron ignores.
Specifically, the term “loss” does not include defense costs; the policy states Liberty will pay on
behalf of the Insured “loss” that results from an occurrence during the “policy period.” “Loss” is
defined in the policy as “those sums which the insured is legally obligated to pay as damages,
after making proper deductions for all recoveries and salvage.” (R. Doc. 6438-4, Ex. A at § IV).
Cameron’s attorney fees are not “damages” and therefore not “loss” under the Policy.

Moreover, the Liberty policy expressly addresses defense costs and provides that Liberty
has no obligation to pay them. The Policy states “[w]e will have the right, but not the duty, to be
associated with you or your underlying insurer or both in the investigation of any claim or
defense of any suit which in our opinion may create liability on us for “loss” under this policy. If
we exercise such right, we will do so at our expense.” Jd. at J III(B). Cameron’s admission that
any common law duty of defense is supplanted by the terms of the Liberty Policy, which ends

the analysis: The Policy outlines Liberty’s duties related to defense of Cameron and clearly sets

8 Cameron admits the “Other Insurance” coverage dispute is relevant to whether Liberty’s conduct was
arbitrary and capricious. It also is relevant to the satisfactory proof of loss issue.

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forth that no duty to defend or pay defense costs exists.

E. Cameron’s Claims Should Be Dismissed Pursuant To Rule 12.

Finally, contrary to Cameron’s claim, the issues raised in Liberty’s motion can be
resolved on a Rule 12 motion.'* See, e.g., Lawrence v. Slidell Welding Srv., Inc., 2011 WL
63875 (E.D. La., 2011) (judgment on pleadings that “employment exclusion” negated coverage
and duty to defend). Nor are facts beyond the pleadings necessary to resolve this coverage
dispute. Interpretation of an insurance policy is a question of law; everything necessary to
decide this question of law (the policy, the settlement agreement, and the allegations) is properly
before the Court. See Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498 (Sth Cir. 2000)
(court may consider pleadings and documents referred to in complaint central to claims).
Attempting to muddy the waters, Cameron attaches (1) letters from other insurers regarding the
settlement and (2) an unsubstantiated declaration that Cameron intended the Liberty Excess
Policy to be follow form without exception. Neither creates a fact issue. What governs are the
terms of the contract between Liberty and Cameron, not comments of other insurers seeking to
put pressure on Liberty to settle for their own business reasons or the subjective intent of the
insured. See, e.g., Nat’l Union Fire Ins. Co. v. CBI Indus., Inc., 907 S.W. 2d 517, 521 (Tex.
1995). As the Fifth Circuit explained, the goal in interpreting an insurance contract “is to
ascertain and to give effect to the intent of the parties as expressed in the instrument” and “by

considering the policy as a whole and interpreting the policy terms according to their plain and

M See also Guidry v. Am. Public Life Ins. Co., 512 F.3d 177 (Sth Cir. 2007).

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ordinary meaning.” Serv. Corp. Int’l v. Great Am. Ins. Co. of N.Y., 2008 WL 280900, at *2 (Sth
Cir. 2008).

The Liberty Excess Policy, by its plain and unambiguous terms, has not attached to
Cameron’s settlement. No amount of creative pleading can overcome these facts.!° This Court

should grant Liberty’s Rule 12 motion.

Respectfully submitted,

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that the above and foregoing Reply has been served on All
Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with
Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of the Court
of the United States District Court for the Eastern District of Louisiana by using the CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on this 3rd day of July, 2012.

/s/ Judy Y. Barrasso

6 Cameron cannot further plead without leave, which it has not sought. The pleadings are indeed “closed.”
Alternatively, Liberty’s motion properly falls under Rule 12(b)(6).

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